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                      UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION


PATRICIA KAMMEYER, et al.,            :
                                      :    NO. 1:01-CV-00649
           Plaintiffs,                :
                                      :    OPINION AND ORDER
                                      :
   v.                                 :
                                      :
                                      :
CITY OF SHARONVILLE, OHIO, et         :
al.,                                  :
                                      :
           Defendants.


             This   matter   is   before    the   Court    on   the   Proposed

Intervenors’ Joint Motion to Stay (doc. 318), the Plaintiffs’

Memorandum in Opposition (doc. 325), the Memorandum of Defendant

City of Sharonville (doc. 326), and the Proposed Intervenors’ Reply

in Support (doc. 328).       The Court notes initially that Defendant

City of Sharonville takes no position on the Proposed Intervenors’

Motion (doc. 326).       For the following reasons the Court denies

Proposed Intervenors’ Motion.

             The facts in this case, as alleged, are especially

egregious.     The Court in numerous previous orders has outlined

these facts and will not again repeat them.               However, the Court

does note that this matter has been pending on the Court’s docket

since September 2001, nearly five years.          Furthermore, the alleged

facts center around the murder of Plaintiffs’ mothers and the
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cover-up perpetuated by the City of Sharonville Police Department.

A review of the docket sheet in this matter highlights the long and

arduous journey that has occurred subsequent to the now firmly set

trial date of September 12, 2006.

LAW AND DISCUSSION

              Proposed Intervenors identify the four factors the Court

must consider in determining whether to grant their Motion to Stay

(doc. 318).         Those four factors are: 1) the likelihood that the

Proposed Intervenors will prevail on the merits; 2) the likelihood

of irreparable harm to the Proposed Intervenors absent a stay; 3)

the prospect that others will suffer harm if a stay is granted; and

4) the public interest in granting the stay. Michigan Coalition of

Radioactive Material Users, Inc. v. Griepentrog, 945 F.2d 150, 153

(6th Cir 1991).       As noted, the Defendant City of Sharonville takes

no position on this matter (doc. 326).

              The    Plaintiffs    spend    considerable       time   in     their

Memorandum      in    Opposition    outlining     why    the    Court      retains

jurisdiction in this matter, despite the Proposed Intervenors’

pending appeal before the Sixth Circuit (doc. 325).                   The Court

agrees with the analysis of Plaintiffs in which they conclude that

the   Court    retains    jurisdiction     over   this   matter   because      the

Proposed Intervenors’ appeal is of a collateral order (Id. citing



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U.S. v. Bastanipour, 697 F.2d 170, 173 (7th Cir. 1982)).                    In any

event, the Proposed Intervenors do not challenge this Court’s

continuing jurisdiction in either their Motion to Stay or Reply in

Support (docs. 318, 328). In fact, they make no mention whatsoever

of the issue.         As Proposed Intervenors’ clearly do not dispute the

Court’s jurisdiction, the Court finds no reason to discuss this

matter further.

               Proposed Intervenors argue that they are not required to

establish a high probability of success on the merits when there is

a high likelihood of irreparable harm. Griepentrog, 945 F.2d at

153.      Yet, they do not attempt to argue that there is any

possibility that they may be successful at trial on the merits of

the case (doc. 318).          Proposed Intervenors seek to satisfy this

factor    of    the    test   simply    by   showing   a   high   likelihood     of

irreparable harm (Id.).

               While     Proposed      Intervenors     accurately        cite    the

aforementioned caselaw requiring less proof of success on the

merits if irreparable harm may occur, they oversimplify the law.

As   Plaintiffs        highlight,   Griepentrog      requires     less   proof    if

irreparable harm may occur, but a movant is always required to

demonstrate more than the mere possibility of success on the

merits.    Griepentrog, 945 F.2d at 154.             Proposed Intervenors fail

to present more than a mere possibility of success on the merits.

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Rather, they argue only that irreparable harm will occur (doc.

318).   But, Griepentrog requires that the movant show at a minimum

“serious questions going to the merits.” Griepentrog, 945 F.2d at

154. (internal citations omitted).             Proposed Intervenors have

failed to demonstrate any possibility of prevailing on the merits

of the case.

           Next, Proposed Intervenors argue that they will suffer

irreparable harm if their motion is denied because they will be

collateral estopped from introducing new or different facts as to

indemnification in the coverage action ongoing in the Ohio courts

(doc. 318).     Proposed Intervenors have a pending appeal before the

Sixth Circuit to determine their right to intervene (Id.)                  They

argue that if their Motion to Stay is denied and the trial proceeds

before the appeal is heard, their appeal will become moot (Id.)

           The Proposed Intervenors concede that under current law,

as prescribed by Gehm v. Timberline Post & Frame, No.22479, 2005-

Ohio-5222, 2005 WL 2401906 (Ohio Ct. App. 2005), they will not be

estopped from introducing such facts as they deem necessary in any

state   court    action   to   determine    indemnification      (doc.    318).

However, Proposed Intervenors argue that Gehm is currently under

review by the Ohio Supreme Court and if reversed, they will suffer

irreparable harm (Id.).        Therefore, Proposed Intervenors seek to

avoid such irreparable harm by staying the trial at least until the

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Sixth Circuit hears their appeal (Id.).

           In evaluating irreparable harm the court considers three

factors: the 1) substantiality of the injury; 2) likelihood that it

will occur; and 3) adequacy of the proof provided.               Griepentrog,

945 F.2d at 154.       A movant must provide evidence that injury has

occurred in the past and is likely to occur again. Id.                Harm must

be certain and immediate, rather than speculative or theoretical

Id. Proposed Intervenors concede that under current law, they will

not suffer irreparable harm if the Motion to Stay is denied (doc.

318).     Additionally,      if   Defendants     win    at   trial,   Proposed

Intervenors will suffer no harm (doc. 325).            Proposed Intervenors’

harm is much too speculative to justify granting a motion to stay.

Proposed Intervenors have not provided sufficient evidence to show

that it is likely that the harm will occur.            Also, they will not be

collaterally     estopped     from    disputing     indemnification       in      a

subsequent action.

           Proposed Intervenors also argue that little harm will be

done to the parties because all other proceedings in the case, such

as discovery, can continue as long as they are not precluded from

submitting jury instructions, jury interrogatories, and verdict

forms at trial (doc. 325).           Additionally, Proposed Intervenors

argue that the harm to the parties is greatly outweighed by the

other factors prescribed by Griepentrog (Id.).

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            The Proposed Intervenors fail to address the substantial

harm to Plaintiffs.       This action was filed in 2001, nearly five

years ago (doc. 325).        The events from which the action arises

occurred twenty-five years ago (Id.).              Witnesses, parties, and

individuals involved are aging - memories potentially failing or at

least fading.     Plaintiffs have waited long enough for an outcome

(Id.).     For these reasons, further delay because of a collateral

matter would cause Plaintiffs significant harm.

            Finally, Proposed Intervenors argue that the public

interest    favors   preventing    collateral     estoppel    so   a   stay   is

justified (doc. 325). The Court disagrees. Plaintiffs have waited

nearly five years for this case to go to trial. Public interest

encourages efficiency.      In this case, Plaintiffs allege that their

mothers’ murders were covered-up by the City of Sharonville Police

Department.    The public has a substantial interest in determining

whether a police department is engaged in criminal activity.

Additionally, such an interest clearly outweighs the public’s

interest in ensuring that an insurance company receives adequate

opportunity to litigate indemnity.          In this case, public interest

does not favor granting the Motion to Stay and further delaying the

trial.   The substance of this case demands a trial without further

delay. Additionally, as Plaintiffs point out, public interest is

best served by evaluating cases on their merits and not by allowing

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collateral disputes to delay trial (doc. 325).

CONCLUSION

             Proposed   Intervenors     have   not   sufficiently      shown      a

likelihood that they may prevail on the merits or that irreparable

harm will occur.     Furthermore, Plaintiffs will suffer harm if the

stay is granted and the public has a substantial interest in having

the case go to trial without further delay.           The Court, therefore,

DENIES Proposed Intervenors’ Motion to Stay (doc. 318).



     SO ORDERED.




Dated: July 20, 2006                s/S. Arthur Spiegel

                                    S. Arthur Spiegel
                                    United States Senior District Judge




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